Case 1:24-cr-00542-ALC   Document 13-6   Filed 09/18/24   Page 1 of 5




                         EXHIBIT 6
          Case 1:24-cr-00542-ALC             Document 13-6          Filed 09/18/24       Page 2 of 5


                                           Tuesday, September 17, 2024 at 00:44:55 Eastern Daylight Time

Subject: Re: Mr. Combs Travel
Date:    Wednesday, August 21, 2024 at 10:51:45 AM Eastern Daylight Time
From:    Teny Geragos
To:       Steiner, Mitzi (USANYS), Smyser, Madison (USANYS), Johnson, Emily (USANYS) 2, Foster, Meredith (USANYS)
CC:       Marc Agniﬁlo


Good morning, Mr. Combs is no longer traveling to New York this week.

Teny R. Geragos
Agnifilo Intrater LLP
www.agilawgroup.com

sent from my iPhone

From: Teny Geragos <teny@agilawgroup.com>
Sent: Friday, August 16, 2024 11:18:55 AM
To: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>; Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>; Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Foster,
Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: Re: Mr. Combs Travel

Good morning, all:

Mr. Combs will not be ﬂying this week, instead, he will be ﬂying to New York on August 21st and leaving
on August 25th.

Thanks,
Teny

From: Teny Geragos <teny@agilawgroup.com>
Date: Thursday, August 8, 2024 at 3:04 PM
To: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>, Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>, Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>,
Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: Re: Mr. Combs Travel

Good evening, all – Mr. Combs will be traveling to New York next week. I will let you know the
exact date when I have it.

Teny



                                                                                                                    1 of 4
          Case 1:24-cr-00542-ALC      Document 13-6      Filed 09/18/24   Page 3 of 5


From: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>
Date: Monday, July 8, 2024 at 3:50 AM
To: Teny Geragos <teny@agilawgroup.com>, Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>, Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>,
Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: RE: Mr. Combs Travel

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open attachments unless you recognize the sender and know the content is safe.
Received, thanks.

From: Teny Geragos <teny@agilawgroup.com>
Sent: Sunday, July 7, 2024 9:22 PM
To: Steiner, Mitzi (USANYS) <MSteiner@usa.doj.gov>; Smyser, Madison (USANYS)
<MSmyser@usa.doj.gov>; Johnson, Emily (USANYS) 2 <EJohnson2@usa.doj.gov>; Foster, Meredith
(USANYS) <MFoster@usa.doj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: [EXTERNAL] Re: Mr. Combs Travel

Good evening all – Mr. Combs will be traveling back to Miami tomorrow via a charter plane.

Teny R. Geragos
Agniﬁlo Intrater LLP
445 Park Avenue, 7th Fl.
New York, NY 10022
o: (646) 205 - 4350
c: (213) 440 - 4401
teny@agilawgroup.com
www.agilawgroup.com

*admiced in NY & CA

From: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>
Date: Friday, July 5, 2024 at 6:15 PM
To: Teny Geragos <teny@agilawgroup.com>, Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>, Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>,
Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: Re: Mr. Combs Travel

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open attachments unless you recognize the sender and know the content is safe.
Thanks Teny.

                                                                                             2 of 4
          Case 1:24-cr-00542-ALC      Document 13-6      Filed 09/18/24   Page 4 of 5


From: Teny Geragos <teny@agilawgroup.com>
Sent: Friday, July 5, 2024 4:55:08 PM
To: Steiner, Mitzi (USANYS) <MSteiner@usa.doj.gov>; Smyser, Madison (USANYS)
<MSmyser@usa.doj.gov>; Johnson, Emily (USANYS) 2 <EJohnson2@usa.doj.gov>; Foster, Meredith
(USANYS) <MFoster@usa.doj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: [EXTERNAL] Re: Mr. Combs Travel

Good evening - Mr. Combs will be traveling back to LA today.

Teny R. Geragos
Agnifilo Intrater LLP
www.agilawgroup.com

sent from my iPhone

From: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>
Sent: Monday, July 1, 2024 1:08:05 AM
To: Teny Geragos <teny@agilawgroup.com>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>;
Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Foster, Meredith (USANYS)
<Meredith.Foster@usdoj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: RE: Mr. Combs Travel

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open attachments unless you recognize the sender and know the content is safe.
Received, thanks Teny.

From: Teny Geragos <teny@agilawgroup.com>
Sent: Saturday, June 29, 2024 2:10 PM
To: Steiner, Mitzi (USANYS) <MSteiner@usa.doj.gov>; Smyser, Madison (USANYS)
<MSmyser@usa.doj.gov>; Johnson, Emily (USANYS) 2 <EJohnson2@usa.doj.gov>; Foster, Meredith
(USANYS) <MFoster@usa.doj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: [EXTERNAL] Mr. Combs Travel

Good afternoon all,

Mr. Combs is flying via a charter plane to Jackson Hole, Wyoming today until Wednesday. We’ll
let you know when he flies back.

Thanks,
Teny

Teny R. Geragos

                                                                                                3 of 4
          Case 1:24-cr-00542-ALC          Document 13-6        Filed 09/18/24      Page 5 of 5


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                                                                                                           4 of 4
